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11
12                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
13
14   UNITED STATES OF AMERICA,                  )      CASE NO. CR S-09-25-JAM
                                                )
15                        Plaintiff,            )      ORDER TO TRAVEL;
                                                )      RELEASE OF PASSPORTS TO U.S. PRE-
16          v.                                  )      TRIAL SERVICES
                                                )
17   MARTIN MIJANGOS RIVERA and                 )
     BLAS MIJANGOS RIVERA,                      )
18                                              )
                          Defendant.            )
19                                              )      Hon. Edmund F. Brennan
20
                                           [PROPOSED] ORDER
21
           GOOD CAUSE APPEARING THEREFOR,
22
23
           IT IS HEREBY ORDERED that the defendants MARTIN MIJANGOS RIVERA and BLAS
24
     MIJANGOS RIVERA be allowed to travel to Michoacan, Mexico as follows:
25
           1.     That passports for Martin Mijangos Rivera and Blas Mijangos Rivera are in the
26
                  custody of the clerk to the Hon. Edmund F. Brennan, Magistrate Judge.
27
           2.     This Court has issued an order that Defendant Martin Mijangos Rivera and Defendant
28
                  Blas Mijangos Rivera can travel to Michoacan, Mexico on May 1, 2010 and return on
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 1                   May 21, 2010 to the United States based on an itinerary approved by U.S. Pretrial
 2                   Services.
 3          3.       Counsel for Martin Mijangos Rivera, Donald B. Marks, has spoken to Steven J.
 4                   Sheehan, U.S. Pretrial Services, who has consented to the travel arrangements and the
 5                   planned schedule.
 6          4.       Based on the foregoing, it is ordered that the clerk release the passports of Martin
 7                   Mijangos Rivera and Blas Mijangos Rivera to U.S. Pretrial Services for the purpose of
 8                   allowing Martin Mijangos Rivera and Blas Mijangos Rivera to travel to Michoacan,
 9                   Mexico on May 1, 2010 and return on May 21, 2010.
10          5.       Upon the return of Martin Mijangos Rivera and Blas Mijangos Rivera to the United
11                   States they shall deliver back their respective passports to U.S. Pretrial Services.
12          All other conditions of the bond release and order previously set shall remain the same.
13
14 DATED: April 28, 2010
15                                                  /s/ John A. Mendez
                                                    HON. JOHN A . MENDEZ
16                                                  U.S. DISTRICT COURT JUDGE
17
     Presented by:
18
     DATED: April 27, 2010
19
          /s/
20 _____________________________
   DONALD B. MARKS
21 Attorney for Defendant
   MARTIN MIJANGOS RIVERA
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